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                            IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF DISTRICT OF COLUMBIA

ROY STEWART MOORE and                         )
KAYLA MOORE,                                  )
                                              )
              Plaintiffs,                     )
                                              )
v.                                            )   Case No. 1:18-cv-02082
                                              )
SACHA NOAM BARON COHEN,                       )
SHOWTIME NETWORKS, INC., and                  )
CBS CORPORATION,                              )
                                              )
              Defendants.                     )


        NOTICE OF WITHDRAWAL OF MOTION FOR EXTENSION OF TIME
     FOR DEFENDANTS TO ANSWER OR OTHERWISE RESPOND TO COMPLAINT

TO ALL PARTIES AND THEIR COUNSEL OF RECORD:

         PLEASE TAKE NOTICE that Defendants Sacha Noam Baron Cohen, Showtime

Networks Inc., and CBS Corporation (collectively “Defendants”), by their undersigned counsel,

hereby withdraw their Motion for an Extension of Time for Defendants to Answer or Otherwise

Respond to Complaint (ECF No. 9).

         DATED: November 5, 2018

                                           Respectfully submitted,

                                                   /s/ Eric Feder
                                           Eric J. Feder (D.C. Bar No. 996955)

                                           DAVIS WRIGHT TREMAINE LLP
                                           1919 Pennsylvania Avenue, N.W., Suite 800
                                           Washington, D.C. 20006-2401
                                           (202) 973-4200
                                           (202) 973-4499 (fax)
                                           ericfeder@dwt.com

                                           Elizabeth A. McNamara (pro hac vice pending)
                                           Rachel F. Strom (pro hac vice pending)



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                                       DAVIS WRIGHT TREMAINE LLP
                                       1251 Avenue of the Americas, 21st Floor
                                       New York, New York 10020
                                       (212) 489-8230




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                                   CERTIFICATE OF SERVICE

         This is to certify that I have this 5th day of November, 2018, electronically filed the

foregoing Notice of Withdrawal of Motion for Extension of Time to Answer or Otherwise

Respond to the Complaint, Memorandum of Points and Authorities and Proposed Order using

the CM/ECF system and served upon counsel of record by electronic filing.


                                                    /s/ Eric Feder
                                                     Eric Feder




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